     Case 4:24-cv-00181-WMR       Document 101      Filed 05/20/25     Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

MELANIE HOGAN SLUDER, et al.

      Plaintiff,

v.                                            Civil Action File No.:
                                              4:24-cv-00181-WMR
REBECKA PHILLIPS, et al.,

      Defendants.


      DEFENDANT SHARON ELLIS’S RESPONSE TO PLAINTIFFS’
           MOTION FOR LEAVE TO AMEND COMPLAINT


      On May 16, 2025, Plaintiffs filed a motion seeking leave to amend their

complaint.1 Although the proposed amendment appears to be untimely given the

Court’s adoption of the parties’ joint preliminary report and discovery plan, 2

Defendant Sharon Ellis does not oppose the motion for leave to amend.




      1
         See Doc. 100.
      2
         In the Joint Preliminary Report and Discovery Plan (“JPR”) [Doc. 39 at p.
5, Sec. 6.(a)], Plaintiffs proposed a fourteen-day deadline for amending the pleadings
from entrance of the Scheduling Order, which was entered on October 21, 2024, and
approved the parties JPR [Doc. 48].
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    Case 4:24-cv-00181-WMR   Document 101   Filed 05/20/25   Page 2 of 4




                                       Respectfully submitted by:

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                                       ATTORNEYS FOR DEFENDANT
                                       SHARON ELLIS




                                   2
    Case 4:24-cv-00181-WMR     Document 101     Filed 05/20/25   Page 3 of 4




                   LR 7.1(D), NDGa. CERTIFICATION


     In accordance with LR 7.1(D), I certify that this document has been prepared

with 14-point Times New Roman font in compliance with LR 5.1(C), NDGa.

                                           Submitted by:

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                                           SHARON ELLIS




                                       3
     Case 4:24-cv-00181-WMR      Document 101     Filed 05/20/25   Page 4 of 4




                         CERTIFICATE OF SERVICE


      On May 20, 2025, I electronically filed Defendant Sharon Ellis’s Response to

Plaintiffs’ Motion for Leave to Amend with the Clerk of Court using the CM/ECF

which will automatically provide electronic service of this document to all counsel

of record.

                                             Submitted by:

                                             WOMACK, RODHAM & RAY, P.C.

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